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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



 IN RE APPLICATION OF SHERVIN                    Case No. _____________________.
 PISHEVAR FOR AN ORDER TO TAKE
 DISCOVERY FOR USE IN FOREIGN
 PROCEEDINGS PURSUANT TO 28
 U.S.C. § 1782



    EX PARTE APPLICATION AND PETITION FOR AN ORDER TO CONDUCT
  DISCOVERY FOR USE IN FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. §
                                1782

       Based on the concurrently filed Memorandum of Law, the Declaration of Lucas Bento

dated August 6, 2021 (the “Bento Declaration”), the Declaration of Jenny Campbell Afia, dated

August 6, 2021 ( the “Afia Declaration”), and the Declaration of Lord Macdonald of River Glaven

Kt QC, dated July 30, 2021 (the “Macdonald Declaration”), Petitioner Shervin Pishevar hereby

respectfully applies to this Court for an Order pursuant to 28 U.S.C § 1782 and Federal Rules of

Civil Procedure 26, 30, 34, and 45 permitting Mr. Pishevar to conduct discovery for use in

contemplated foreign proceedings in the form of the subpoenas attached as Exhibit 2 to the Bento

Declaration.
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Dated: Washington, D.C.            Respectfully submitted,
       August 6, 2021
                                   /s/ Valerie J. Ramos

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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA



IN RE APPLICATION OF SHERVIN        Case No. _____________________.
PISHEVAR FOR AN ORDER TO TAKE
DISCOVERY FOR USE IN FOREIGN
PROCEEDINGS PURSUANT TO 28
U.S.C. § 1782




    MEMORANDUM OF LAW IN SUPPORT OF PETITIONER’S EX PARTE
APPLICATION AND PETITION FOR AN ORDER TO CONDUCT DISCOVERY FOR
      USE IN FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. § 1782
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         Shervin Pishevar (“Petitioner”), respectfully submits this Memorandum of Law in support

of his ex parte Application and Petition pursuant to 28 U.S.C. § 1782 (“Section 1782”), for an

order authorizing him to obtain limited discovery from Fusion GPS (“Fusion” or the

“Respondent”), 1 in the form of the attached subpoenas duces tecum and ad testificandum (the

“Subpoenas”) (the “Application”). 2

                                    PRELIMINARY STATEMENT

         Petitioner is the victim of an international criminal conspiracy which sought to destroy his

reputation and character. This Application arises from the forgery of a British police report

(“Forged Police Report”) that was supplied by someone in the United Kingdom (“UK Source”) to

Respondent who in turn gave it to a journalist—Mr. Marcus Baram—who used the Forged Police

Report in an article published by Fast Company, a leading technology news magazine (“Baram

Article”). 3 The article, which played a key role in disseminating false information, caused

Petitioner to suffer irreparable harm to his reputation and standing. Based on information produced

in a separate Section 1782 proceeding, it is highly likely that the Respondent has identifying

information about the UK Source and others involved in the creation and distribution of the Forged

Police Report (the “Identifying Information”). The Respondent therefore has possession, custody,

or control of information to identify the UK Source and provenance of the Forged Police Report,

including anyone who funded or directed its creation or distribution (“Forgers”). Petitioner brings

this Application to obtain that information for use in Contemplated Criminal and Civil

Proceedings, as defined below, in England against the Forgers (“Contemplated English

Proceedings”).

         In seeking to uncover the identity of the Respondent, the Petitioner also filed in the U.S.

District Court for the Southern District of New York (“SDNY”) two Section 1782 actions against

Fast Company and Mr. Baram to obtain the name of the Respondent (“SDNY 1782 Action”). Mr.


    1
        Based on publicly available information, it appears that Fusion GPS is a trade name of Bean LLC. See
Declaration of Lucas Bento, dated August 6, 2021 (“Bento Decl.”) Exs. 3–4. Out of an abundance of caution,
Petitioner’s 1782 Application is also directed at Bean LLC. See Bento Decl. Ex. 2 (subpoenas directed at “Bean LLC
(A/K/A Fusion GPS)”).
     2
       The Subpoenas are attached as Exhibit 2 to the Declaration of Lucas Bento, dated August 6, 2021.
     3
       Declaration of Jenny Cambpbell Afia, dated August 6, 2021 (“Afia Decl.”) ¶ 21 & Ex. 5.
                                                        1
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Baram, however, sought to shield the identity of the Respondent by relying on the reporter’s

privilege. After Petitioner exhausted additional potential sources of that information, the SDNY

court ultimately held that Petitioner successfully overcame the reporters’ privilege by making,

inter alia, a clear and convincing showing that the identity of the Respondent was not obtainable

from other sources and, accordingly, ordered Mr. Baram to disclose the identity of the Respondent.

Mr. Baram subsequently objected to that court order. While the SDNY Action was pending and

Mr. Baram’s objections were pending, the Petitioner was informed by a private investigator

(“Investigator”) that he had information to identify the Respondent but would not disclose that

information absent a subpoena. Petitioner subsequently filed in the U.S. District Court for the

Central District of California a Section 1782 action to obtain that information from the

Investigator. On June 18, 2021, the Investigator produced information identifying the Respondent

as Mr. Baram’s source. Petitioner therefore initiated the present Section 1782 action to obtain

infromation from the Respondent about the identify of the UK Source and provenance of the

Forged Police Report.

          This Application meets all of the requirements of Section 1782. The Respondent resides

or is found in this district. The discovery sought by the Petitioner is relevant to the issues at stake

in the Contemplated English Proceedings. Moreover, each of the discretionary factors laid down

in the Supreme Court’s Intel decision favor the discovery sought by Petitioner. Accordingly,

Petitioner respectfully requests that the Court grant his Application and permit him to serve the

Subpoenas on the Respondent.

I.        FACTUAL BACKGROUND

          A.     The Parties

          Shervin Pishevar. Shervin Pishevar is a angel and venture investor, entrepreneur and

philanthropist.4 He is the co-founder of Sherpa Capital, a leading venture capital firm. He was

chosen by the U.S. Government as an “Outstanding American by Choice,” one of the only 100




     4
      Afia Decl. ¶ 9; Declaration of Lord Macdonald of River Glaven Kt QC, dated July 30, 2021 (“Macdonald
Decl.”) ¶ 8.
                                                      2
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naturalized Americans to be so chosen since the inception of the award. 5 In 2015, he was

appointed by the U.S. President to the J. William Fulbright Foreign Scholarship Board. 6 Petitioner

is also Co-Founder of the Pishevar-Haynes Foundation, a philanthropic organization focused on

amplifying excellence among underrepresented individuals by leveraging technology to increase

access to education, wellness, economic resources, and a cleaner planet.

        Respondent. The Respondent is a Washington, DC-based private investigations and

intelligence firm that provides opposition research, strategic intelligence, and due diligence

services to corporations, law firms, and investors worldwide. 7

        B.      Petitioner’s Encounter With British Police

        On May 27, 2017, Petitioner had consensual sexual intercourse with a female acquaintance

at a hotel in London.8 Later that day, Petitioner was woken by police officers in his hotel room

and arrested by City of London Police (“COLP”) on suspicion of sexual assault. 9 The arrest was

a total shock to the Petitioner, who was understandably distressed and traumatized by it. 10

Petitioner was released on bail on May 28, 2017, and on July 28, 2017, the COLP confirmed to

Petitioner that they would be taking no further action against him. 11

        After he received inquiries into the arrest by a journalist for a UK newspaper (the Sun), on

June 21, 2017, Petitioner obtained an injunction in England preventing the Sun from naming or

identifying Petitioner in relation to the arrest in any future publications (the “Injunction”). 12 The

Injunction was granted on the basis that if the Sun published an article speculating about

Petitioner’s arrest, it would have been a gross invasion of his privacy rights as protected by Article

8 of the Human Rights Act 1998.13




   5
      Macdonald Decl. ¶ 8.
   6
      Bento Decl. Ex. 11.
   7
      Bento Decl. Ex. 13.
   8
      Afia Decl. ¶¶ 10-11.
   9
      Id. ¶ 10.
   10
       Id. ¶ 11.
   11
       Id. ¶ 12.
   12
       Id. ¶ 13.
   13
       Id. ¶ 13.
                                                  3
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         On August 1, 2017, COLP released a press statement which stated: “Following an

investigation into a report of a rape at a location on Poultry, EC2 [London] on Saturday 27 May

2017, we can confirm that no further action will be taken. A 43-year-old man from San Francisco

was initially arrested on suspicion of rape before being released under investigation.” 14 Petitioner

was not named, and per the press statement on August 1, 2017, COLP announced the investigation

had ended.15

         C.       U.S.-Based Reporter (Mr. Marcus Baram) Obtains Forged Police Report

         Based on information provided to Petitioner in response to prior Section 1782 subpoenas

to Fast Company in the SDNY 1782 Actions, see infra I. H, in September 2017, Mr. Marcus Baram

met with the Respondent in a café in Washington, D.C. 16 At that meeting, the Respondent handed

Mr. Baram a USB pen drive containing a copy of the Forged Police Report, which the Respondent

allegedly obtained from a “male lawyer in the United Kingdom”—the UK Source. 17 The

Respondent also relayed additional fabricated allegations communicated by the UK Source

concerning the arrest, including that the Petitioner purportedly paid the alleged victim money to

“drop[ ] the charges”, that the “[G]old [C]ommand” of the British Police was allegedly involved,

and that the British police were allegedly “outraged” once the charges were dropped (“Other False

Information”).18



            Forger and
                                                                                        Publication of
           anyone else
                                                                                           Article
                who
                                                                                          Harming
            distributed           U.K. Source        Respondent     Marcus Baram
                                                                                         Petitioner's
              and/or
                                                                                         Reputation
          commissioned
                                                                                        and Interests
           the forgery


Figure 1: Potential Distribution Chain of Forged Police Report and Other False Information




   14
        Id. ¶ 14.
   15
        Id. ¶ 14.
   16
         Bento Decl. Ex. 8; Macdonald Decl. Ex. 8.
   17
         Bento Decl. Exs. 6, 8, 9.
   18
         Bento Decl. Ex. 9.
                                                     4
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          D.     Mr. Baram Makes Inquiries About The Arrest And The Forged Police Report

          On or around October 13, 2017, Mr. Baram contacted the COLP press team to inquire

further about Petitioner’s arrest.19 COLP responded that the investigation into the arrest was no

longer ongoing and as such no further action would be taken. 20 On October 15, 2017, Mr. Baram

contacted COLP again, this time to ask whether they would confirm it was Petitioner that was

arrested. 21 The following day, COLP responded that, as per COLP policy, they could neither

confirm nor deny any name put to them in connection with an arrest. 22 At the same time, COLP

also confirmed that the investigation was not being reviewed and would not be reopened. 23

          On October 18, 2017, Mr. Baram emailed COLP attaching a copy of what he claimed to

be a police report (i.e. the Forged Police Report) that he had obtained, which named the Petitioner

and, as subsequently confirmed by COLP, contained false information. 24 Due to the fraudulent

details contained in the Forged Police Report, anyone who read it would wrongly associate

Petitioner with disreputable or notorious conduct. 25 Mr. Baram requested that COLP confirm

whether the Forged Police Report was authentic. 26 On October 20, 2019—almost three weeks

before Mr. Baram published his article—COLP responded that the Forged Police Report was not

authentic, and clarified that the report format used in the Forged Police Report was not one used

by COLP, and further, that the purported police officer who authored the report was not, in fact,

an officer employed by COLP.27

          The COLP further confirmed its findings in an internal investigation into the Forged Police

Report and shared the results of that investigation with Mr. Baram in an email dated October, 23,

2017, where COLP stated it believed that the Forged Police Report was “false.” 28 On October 24,


    19
         Afia Decl. ¶ 15.
    20
         Id.
    21
         Id.
    22
         Id..
    23
         Id.
    24
         Afia Decl. ¶ 16; see also In Re Application of Shervin Pishevar for an Order to Take Discovery for Use in
Foreign Proceedings Pursuant to 28 U.S.C. 1782, No. 1:19-mc-00503-JGK-SDA (“Second SDNY 1782
Application”), Opinion & Order, ECF 77 at 13 (stating that “the Court notes that these documents contain false
details from an arrest and investigation that later was dropped”).
    25
         Afia Decl. ¶ 16.
    26
         Id.
    27
         Afia Decl. ¶ 16 & Ex. 3.
    28
         Afia Decl. ¶ 17 & Ex. 4.
                                                         5
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2017, COLP produced a report, which stated that it was “unlikely” that the Forged Police Report

had been created within COLP or leaked by COLP to the media. 29 Thereafter, on or around

October 24, 2017, COLP confirmed to Mr. Baram and others that the report was a fake. 30 In

another email in response to Mr. Baram, dated October 31, 2017, COLP confirmed that Petitioner’s

case had not been reopened.31

          On November 7, 2017, Mr. Baram contacted COLP again and inquired whether they could

provide further details about the case.32 COLP again confirmed Petitioner’s case had not been

reopened and stated they had no further comment on the matter. 33

          After being contacted by various media organizations requesting comment on the Forged

Police Report, on November 8, 2017, Petitioner had no choice but to release a statement in which

he confirmed that in May 2017 he was detained briefly in London in connection with an alleged

sexual assault, an allegation categorically denied by Petitioner. 34 The statement also confirmed

that in July 2017 he was informed that no further action would be taken against him. 35

          E.     Mr. Baram’s Publication Of Article Disseminating Forged Police Report

          Notwithstanding the fact that COLP previously communicated to Mr. Baram that the

Forged Police Report was false, on November 8, 2017, Mr. Baram and Fast Company nonetheless

published the Baram Article. 36 The Baram Article made reference to details contained in the

Forged Police Report, including false information about the circumstances leading to the arrest. 37

The Baram Article was wrongly afforded greater credibility because it referred to the details of the

Forged Police Report.38




    29
         Afia Decl. ¶ 18.
    30
         Id.
     31
         Id.
     32
         Afia Decl. ¶ 19.
     33
         Id.
     34
         Id. ¶ 20.
     35
         Id.
     36
         Id. ¶ 21 & Ex. 5.
     37
         Id; see also In Re Application of Shervin Pishevar for an Order to Take Discovery for Use in Foreign
Proceedings Pursuant to 28 U.S.C. 1782, No. 1:19-mc-00503-JGK-SDA (“Second SDNY 1782 Application”),
Opinion & Order, ECF 77 at 13 (stating that “the Court notes that these documents contain false details from an
arrest and investigation that later was dropped”).
     38
         Afia Decl. ¶ 21.
                                                         6
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         The following day, on November 9, 2017, more publications released articles referring to

the contents of the Forged Police Report. The New York Post published an article entitled

“Billionaire ally of ex-Uber CEO busted on rape charge” which included details from the Forged

Police Report.39 Forbes published an article entitled “Shervin Pishevar, arrested but never charged

over alleged rape, says he’s a victim of ‘smear campaign,’” which stated that “a copy of the police

report obtained by Forbes, confirms the details of the arrest and the identity of the suspect.” 40

         F.       Petitioner Uncovers, And British Police Confirm, That Report Is Fake

         On November 9, 2017, Hickman & Rose, English criminal counsel for Petitioner, contacted

COLP to inquire whether any private information relating to Petitioner had been disclosed to the

media following the arrest.41 On November 10, 2017, COLP confirmed that no such disclosure

had been made, and Hickman & Rose responded with a request for a copy of the Forged Police

Report.42 On November 13, 2017, COLP declined the request due to ongoing inquiries as to the

purported commission of any criminal offences related to the Forged Police Report. 43

         In an email to COLP dated September 28, 2018, Hickman & Rose renewed their request

for a copy of the Forged Police Report as well as confirmation as to the source that provided it to

COLP.44 In a response dated October 25, 2018, COLP’s in-house lawyer stated that they “can

confirm that there is no criminal investigation in respect of the document in question. The City of

London Police is content for me to inform you that the screenshot of the document was supplied

to them by Marcus Baram of Fast Company. The City of London Police is not prepared to provide

a copy of the screenshot without a court order requiring disclosure.” 45

         On November 1, 2018, Hickman & Rose made a Subject Access Request (similar to a

Freedom of Information Act request in the U.S.) to the COLP for the Forged Police Report. 46 On

April 4, 2019, Hickman & Rose subsequently made a disclosure application to the English High


   39
        Id. ¶ 22.
   40
        Id.
   41
        Id. ¶ 23.
   42
        Id.
   43
        Id.
   44
        Id. ¶ 25.
   45
        Id. ¶ 25 & Ex 6.
   46
        Afia Decl. ¶ 25; Macdonald Decl. ¶ 17.
                                                  7
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Court seeking to compel the COLP to disclose the information that had been requested. 47 On May

29, 2019, the English High Court ordered the COLP to comply with the request. 48 On the same

day, the COLP complied and provided a copy of the Forged Police Report to Hickman & Rose. 49

The COLP further confirmed via a signed witness statement from Teresa La Thangue (COLP’s

Communications Director) that the Forged Police Report was fake:

                   “2. On the 18 October 2017, Corporate Communications received an email
          from Marcus Baram, a journalist, stating that he had obtained the ‘arrest report’
          in relation to matter that he had previously enquired about; a report of rape at the
          Ned Hotel on the 27 May 2017. I now produce marked “TLT/I” a copy of the said
          email.

                  3. In his email of the 18 October 2017, Marcus Baram asked us to verify
          that the document attached to his email was authentic. The attached document was
          a screenshot of what appeared to be an arrest report. I now produce marked “TLT/2”
          a copy of the attachment.

                 4. The ‘arrest report’ was sent to the City of London Police’s Professional
          Standards Directorate who were able to confirm that the document was not a City
          of London Police document.

                  5. Thereafter, Marcus Baram was told, along with any other journalists who
          enquired, that it was a fake, explaining that it was not a document that is used by
          the City of London Police, and that the officer named does not work and has not
          worked for the City of London Police.”50

          These findings are further supported by Detective Sergeant Jonathan Witt (a COLP

officer), who concluded in a report dated October 24, 2017 that the Forged Police Report was “not

authentic.”51 On June 11, 2019, the COLP provided additional documents to Petitioner, detailing

the COLP’s internal investigation into the Forged Police Report’s authenticity as well as contact

with media outlets following inquiries into the Petitioner’s arrest. 52 Whilst this information was




    47
        Macdonald Decl. ¶ 18; Afia Decl. ¶ 25.
    48
        Macdonald Decl. ¶ 18.
     49
        Afia Decl. ¶ 26. Specifically, the copy was a screenshot of the purported Forged Police Report which had been
sent by Mr. Baram to the COLP.
     50
        Macdonald Decl. ¶ 19 & Ex. 5 (emphasis added); Afia Decl. ¶ 28.
     51
        Afia Decl. ¶ 27.
     52
        Id. ¶ 26.
                                                         8
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helpful, it failed to assist the Petitioner in identifying the author(s) or distributor(s) of the Forged

Police Report.53

          G.      Petitioner’s Contemplated Proceedings

          Petitioner has suffered considerable reputational harm as a result of the creation and

dissemination of the lies contained in the Forged Police Report.                        Accordingly, Petitioner

contemplates initiating criminal and civil proceedings against the Forgers in the England & Wales.

          Contemplated Criminal Proceedings. Petitioner seeks to initiate, either through public or

private prosecutions,54 criminal proceedings in England & Wales against the Forgers for violations

of the Forgery and Counterfeiting Act 1981, the Fraud Act 2006, and the Malicious

Communications Act 1988 (“Contemplated Criminal Proceedings”). 55 As explained in the

Declaration of Lord Macdonald of River Glaven Kt QC—the former Director of Public

Prosecutions in England & Wales—the Forgers have contravened the Forgery and Counterfeiting

Act 1981 because in creating and maliciously disseminating the Forged Police Report—plainly a

false instrument under English law—the Forgers intended by their acts to harm, and actually

harmed, the Petitioner.56 The Forgers also contravened Sections 2, 6, and 7 of the Fraud Act 2006

under English law because the Forged Police Report was intended by the Forgers to be perceived

by its readers as a genuine police report; the implied assertion that it was genuine amounted to a

false representation; the Forgers knew this was a false representation; and their plain and

inescapable intention in making this false representation was to cause loss to the Petitioner. 57

Similar reasoning applies equally to anyone further down the chain who passed the Forged Police

Report on knowing it was a fake and intending thereby to cause loss to the Petitioner. Similarly,

the Forgers contravened the Malicious Communications Act 1988 because when the Forgers

conveyed the report to others, they did so knowing it contained false information (because that

information had been invented), and with full awareness that it would inevitably be drawn to the


    53
       Macdonald Decl. ¶ 20.
    54
       Under English law, a victim of a crime may initiate a private prosecution without police or State intervention.
See Macdonald Decl. ¶¶ 36-38.
    55
       Macdonald Decl. ¶¶ 24-38.
    56
       Macdonald Decl. ¶¶ 27-28.
    57
       Id. ¶¶ 29-30.
                                                          9
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Petitioner’s attention (thus establishing the necessary intention under English law), with the

equally inevitable result that the Petitioner would be caused distress and anxiety. 58 To this end,

Petitioner has retained English counsel to pursue these claims, who have already begun preparing

pleadings, including criminal summonses. 59

          Contemplated Civil Proceedings. The Petitioner contemplates initiating civil proceedings

against the Forgers.60 Specifically, Petitioner intends to bring a claim of, inter alia, negligent

misstatement, against the Forgers on the basis that the Forgers owed Petitioner a duty of care not

to publish private information about him which they knew to be false, yet did so regardless, which

information the media (and possibly others) have relied on, thereby causing Petitioner to suffer

loss (“Contemplated Civil Proceedings”). 61 The Petitoner also contemplates bringing libel and/or

slander proceedings, as well as a claim in misuse of pivate information in respect of the

dissemination of the Forged Police Report which has caused serious harm to his reputation.

          To this end, the Petitioner has retained English counsel to pursue civil claims in England

& Wales, including (without limitation) negligent misstatement, libel, and/or slander, as well a s

for misuse of private information.62 English counsel has begun preparing pleadings to pursue these

claims.63 While these claims may initially be brought against Persons Unknown (akin to John Doe

defendants in the US), in order to pursue the claims a named defendant is required and it would be

more efficient from the outset to initiate these proceedings against such a named defendant(s). 64

          H.     Prior Section 1782 Applications

          As part of his investigation to identify the Forgers, the Petitioner initiated three Section

1782 actions, two in New York and one in California.




    58
        Id. ¶¶ 32-33.
    59
        Id. ¶ 24.
     60
        Afia Decl. ¶ 33.
     61
        Id. ¶¶ 33-45.
     62
        Id. ¶¶ 33-34, 46-48.
     63
        Id.
     64
        Id. ¶¶ 35, 50. A Persons Unknown lawsuit would need to be amended within months to add the names of the
defendant(s). Thus, and since it is unclear how this Application will unfold, it would be more efficient and
judicially economical to file the foreign civil lawsuit onces those name(s) are identified.
                                                      10
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          On August 6, 2019, the Petitioner petitioned the U.S. District Court for the Southern

District of New York for an order authorizing Petitioner to conduct discovery from Fast Company

relating to the Baram Article , including the identity of the Mr. Baram’s source (“First SDNY 1782

Application”). On August 9, 2019, the Magistrate Judge Stewart D. Aaron granted the First

Section 1782 Application. The Petitioner subsequently served subpoenas on Fast Company and

Mansueto Ventures LLC (Fast Company’s publisher).                              On August 27, 2019, Fast

Company/Mansueto requested a two-week extension to produce responsive documents pursuant

to the subpoenas.65 Petitioner consented to this request.66

          Between September 17, 2019 and October 21, 2019, Fast Company/Mansueto produced

certain information about the Forged Police Report 67 but Mr. Baram (through Fast Company)

refused to produce identifying information about the identity of his source i.e. the Respondent, on

the basis that Mr. Baram was purportedly permitted to withold that information under the

“reporter’s privilege.”68

          On October 31, 2019, Petitioner therefore filed in SDNY a Section 1782 application against

Mr. Baram to obtain identifying information sufficient to identify the Respondent (“Second SDNY

1782 Application”).69 On February 18, 2020, Magistrate Judge Stewart Aaron denied Petitioner’s

application, finding that although he had met the mandatory criteria of Section 1782, the court held

that Mr. Baram could invoke the reporter’s privilege to withold the name of his source. 70

          On March 3, 2020, Petitioner filed a motion for reconsideration, and on April 14, 2020, the

court granted the motion for reconsideration but adhered to its prior decision because Petitioner

had “failed to make a clear and specific showing that the identity of the [Respondent] is not


    65
         Bento Decl. Ex. 11.
    66
         Id.
     67
         The information produced by Fast Company confirmed that Mr. Baram was told by the City of London Police
that the Forged Police Report was not authentic, that the purported police officer on the report does not work for the
police, and that in any event the forged report did not look like the type of report the City of London Police would
use. See, e.g., Afia Decl., Ex. 3. For reasons that are unknown to Petitioner, Mr. Baram nevertheless proceeded to
publish his story making reference to the Forged Police Report, including to the fake report’s content. See id. Ex. 5.
     68
         Bento Decl. Exs. 5, 7.
     69
        To be clear, Petitioner does not seek information already produced by Fast Company, Mansueto, or Mr. Baram
pursuant to the First Section 1782 Application.
     70
         In re Application of Shervin Pishevar for an Order to take Discovery for use in Foreign Proceedings
Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d 290, 301-07 (S.D.N.Y. 2020).
                                                         11
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obtainable from other available sources,” noting that “Petitioner ha[d] tools available to him to

obtain discovery” from three other potential sources. 71 On September 8, 2020, Petitioner filed a

motion to supplement, amend and/or renew his application, which included sworn affidavits from

those three potential sources stating in substance that none of these individuals has any knowledge

regarding the Respondent or of the provenance of the Forged Police Report. 72

          On October 3, 2020, the court granted Petitioner’s renewed application in the Second

SDNY 1782 Application and found that Petitioner had “exhausted reasonable alternative sources

of information” and found that “the reporter’s privilege has been overcome.” 73 Accordingly, the

court ordered Mr. Baram to disclose to Petitioner the name and location of the Respondent. 74

          On October 19, 2020, Mr. Baram filed objections against the court’s October 3, 2020

order.75 On November 2, 2020, Petitioner filed his opposition to Mr. Baram’s objections. 76 On

January 21, 2021, the court scheduled oral argument for February 12, 2021 (“SDNY Hearing”). 77

On February 2, 2021, Mr. Baram, with Petitioner’s consent, moved to adjourn the SDNY Hearing

to February 19, 2021. 78 Upon receiving new information from the Investigator about the

Respondent’s identity, Petitioner, with Mr. Baram’s consent, on February 9, 2021, moved to

adjourn the SDNY Hearing pending investigation into this new information. 79

          On February 23, 2021, Petitioner filed a Section 1782 application in the U.S. District Court

for the Central District of California (“C.D. Cal.”) seeking documentary and testimonial evidence

from the Investigator about the identity of the Respondent (“C.D. Cal. 1782 Action”). On May

25, 2021, C.D. Cal. granted Petitioner’s application and authorized service of the subpoenas on




    71
       In re Pishevar, 1:19-MC-00503 (JGK), 2020 WL 1862586, at *4-5 (S.D.N.Y. Apr. 14, 2020) (citation
omitted).
    72
       Second SDNY 1782 Application, ECF 86-92.
    73
       In re Pishevar, 1:19-MC-00503 (JGK), 2020 WL 8299764, at *5 (S.D.N.Y. Oct. 3, 2020).
    74
       Id.
    75
       Second SDNY 1782 Application, ECF 100.
    76
       Second SDNY 1782 Application, ECF 101.
    77
       Second SDNY 1782 Application, Minute Entry dated January 21, 2021.
    78
       Second SDNY 1782 Application, ECF 102.
    79
       Second SDNY 1782 Application, ECF 104.
                                                     12
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the Investigator. 80 On June 18, 2021, the Investigator provided information identifying the

Respondent as Mr. Baram’s source. 81

          Having obtained information about the Respondent’s identity, on June 30, 2021 Petitioner

dismissed with prejudice the SDNY Action seeking information from Mr. Baram. 82 On August 6,

2021, Petitioner initiated the present Section 1782 action to obtain information to identify the UK

Source and the entity/individual who retained Respondent’s services in connection with the

Petitioner.83

          I.     Respondent Possesses Highly Material Information Concerning The UK
                 Source and Forgers

          Pursuant to the subpoenas served in the C.D. Cal. 1782 Action, the Investigator identified

the Respondent as Mr. Baram’s source. 84 The Respondent is therefore highly likely in possession,

custody, and control of the Identifying Information i.e. information about the identities of the UK

Source and others involved in the creation and malicious distribution of the forged report, which

is highly material to the Contemplated English Proceedings. This Identifying Information, inter

alia, relates to the identity and location of the UK Source, who gave the Respondent the Forged

Police Report and Other False Information; the identity and location of Respondent’s client, who

arguably retained Respondent’s services in connection with the Forged Police Report and Other

False Information; and any other information relating to the provenance and falsity of the report,

including anyone who may have commissioned or had any involvement in planning, preparing, or

maliciously disseminating the Forged Police Report and Other False Information—facts and issues

that are critical and indispensable to the Contemplated English Proceedings. 85




    80
        Order to Issue Subpoenas to Respondent Authorizing Discovery Pursuant to 28 U.S. §1782 to Conduct
Discovery for Use in Foreign Proceedings, In Re Application of Shervin Pishevar for an Order to Take Discovery for
Use in Foreign Proceedings Pursuant to 28 U.S.C. 1782, 2:21-mc-00175-JAK-KS (C.D. Cal May 25, 2021), ECF
No. 21.
    81
       See Bento Decl., Ex. 12.
    82
       Second SDNY 1782 Application, ECF 126.
    83
       Bento Decl., Ex. 2 (subpoenas).
    84
       Bento Decl., Ex. 12.
    85
        Macdonald Decl.¶¶ 40-41; Afia Decl.¶¶ 46-50.
                                                       13
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II.         ARGUMENT

            A.     Legal Framework

            Section 1782 of Title 28 of the United States Code permits United States District Courts

to grant discovery for use in a foreign proceeding. The statute, in relevant part, states:

            The district court of the district in which a person resides or is found may order him
            to give his testimony or statement or to produce a document or other thing for use
            in a proceeding in a foreign or international tribunal . . . . The order may be made
            . . . upon the application of any interested person.

28 U.S.C. § 1782.

            Courts are permitted to grant Section 1782 applications on an ex parte basis. In re Masters

for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in a Foreign Proceeding,

315 F. Supp. 3d 269, 272 (D.D.C. 2018) (“[D]istrict courts are generally authorized to review a §

1782 application on an ex parte basis.”); see also In re Rivada Networks, 230 F. Supp. 3d 467, 473

(E.D. Va. 2017) (concluding that “decision to file an ex parte § 1782 application was proper . . .

as § 1782 applications are routinely filed ex parte”); Gushlak v. Gushlak, 486 F. App’x 215, 217

(2d Cir. 2012) (“[I]t is neither uncommon nor improper for district courts to grant applications

made pursuant to § 1782 ex parte.”); In re Société d’Etude de Réalisation et d’Exploitation Pour

le Traitement du Mais, No. 13-MC-0266, 2013 WL 6164435, at *2 n.1 (E.D. Pa. Nov. 22, 2013)

(collecting cases). “[A]s a general matter, ex parte review is ‘justified by the fact that the parties

[from whom discovery is sought] will be given adequate notice of any discovery taken pursuant to

the request and will then have the opportunity to move to quash the discovery or to participate in

it.’” In re Masters, 315 F. Supp. 3d at 272 (quoting In re Letter of Request from Supreme Court

of H.K., 138 F.R.D. 27, 32 n.6 (S.D.N.Y. 1991)). 86




      86
        Petitioner has also commneced this Application on an ex parte basis because of the nature of the information
sought, the nature of the foreign claims (including criminal claims), and to maximize the preservation of
indispensable evidence.
                                                        14
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        An application made pursuant to Section 1782 must satisfy three statutory requirements:

(1) the person from whom discovery is sought must reside in or be found within the district; (2) the

discovery must be for use in a proceeding before a foreign or international tribunal; and (3) the

application must be made by a foreign or international tribunal or any interested person. See In re

DiGiulian, 314 F. Supp. 3d 1, 6 (D.D.C. 2018); In re Nat’l Syndicate for Elec. Energy, No. 1:13-

MC-20 GBL/TCB, 2014 WL 130973, at *2 (E.D. Va. Jan. 14, 2014).

        After determining that the three statutory requirements are satisfied, courts may then

consider four discretionary factors in deciding whether to grant a Section 1782 application,

namely:    (1) whether the documents or testimony sought are within the foreign tribunal’s

jurisdictional reach, and thus accessible absent Section 1782 aid; (2) “the nature of the foreign

tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

government or the court or agency abroad to U.S. federal-court judicial assistance”; (3) whether

the Section 1782 request “conceals an attempt to circumvent foreign proof-gathering restrictions

or other policies of a foreign country or the United States”; and (4) whether the subpoenas contain

unduly intrusive or burdensome requests. See Intel, 542 U.S. at 264–65. The Supreme Court

neither mandated that lower courts weigh those factors, nor “articulate[d] a formula for their

consideration.” In re Application for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery

for Use in a Foreign Proceeding, No. 17-1466 (BAH), 2017 WL 3708028, at *3 (D.D.C. Aug. 18,

2017); see also HT S.R.L. v. Velasco, 125 F. Supp. 3d 211, 222 (D.D.C. 2015).

        Moreover, the Court should consider these discretionary factors in light of the “statute’s

twin aims: i.e., to provide fair and efficient assistance to participants in international litigation and

to encourage other countries to provide similar assistance.” In re Veiga, 746 F. Supp. 2d 8, 17

(D.D.C. 2010) (also noting the “statute’s overarching interest in providing fair and efficient

assistance and the liberal standards of discovery in granting the application”) (quoting In re


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Application of Euromepa S.A., 51 F.3d 1095, 1097 (2d Cir.1995)); Intel, 542 U.S. at 252. The

Supreme Court and courts in our circuit, as well as other circuits, have acknowledged a

congressional intent to provide a liberal avenue to discovery in aid of foreign and international

proceedings. See, e.g., Intel, 542 U.S. at 247–48; Al Fayed v. C.I.A., 229 F.3d 272, 276 (D.C. Cir.

2000) (acknowledging that “successive amendments, since the statute’s origin in 1855, have given

[Section 1782] ‘increasingly broad applicability.’” (citing Lancaster Factoring Co. v. Mangone,

90 F.3d 38, 41 (2d Cir. 1996))); see also Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673

F.3d 76, 80 (2d Cir. 2012) (“[T]he statute has, over the years, been given ‘increasingly broad

applicability.” (quoting In re Gianoli Aldunate, 3 F.3d 54, 57 (2d Cir. 1993))).

          A.      Petitioner Satisfies The Statutory Requirements Of 28 U.S.C. § 1782.

          Petitioner satisfies the three statutory requirements of section 1782: (1) Respondent is

“found” in the District of Columbia; (2) the requested information is for use in the Contemplated

English Proceedings; and (3) Petitioner is an “interested person” as the putative plaintiff and

complainant in those foreign proceedings. 87

                  1.       Respondent Is “Found” In The District of Columbia.

          Respondent resides and is found in this district as it is headquartered in this District. 88 See

Hertz Corp. v. Friend, 559 U.S. 77, 81, 93 (2010) (holding that a corporation’s principal place of

business “should normally be the place where the corporation maintains its headquarters”); In re

Masters, 315 F. Supp. 3d at 274 (Courts “appear to agree that a corporation is “found” in a district

where it is headquartered or incorporated.”); In re DiGiulian, 1:19-MC-132 (RC/RMM), 2020 WL

5253849, at *3 (D.D.C. Sept. 3, 2020) (holding respondent corporation is “found” in Washington,




    87
       See In re Application of Shervin Pishevar for an Ord. to take Discovery for use in Foreign Proc. Pursuant to
28 U.S.C. § 1782, 439 F. Supp. 3d 290, 302 (S.D.N.Y. 2020) (holding that Petitioner satisfied Section 1782’s statutory
requirements).
    88
       Bento Decl., Exs. 3-4, 13.
                                                         16
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D.C. because its corporate headquarters is in Washington, D.C.); Matter of de Leon, 19-MC-0197

(TSC), 2020 WL 1047742, at *2 (D.D.C. Mar. 4, 2020) (holding that a respondent “resides” in this

district because its headquarters are located in Washington, D.C.). Accordingly, Respondent

resides and is “found” in this District for purposes of Section 1782.

               2.       The Discovery Sought Is For Use In Foreign Proceedings.

       The information sought in the Subpoena is “for use” in foreing proceedings. Section 1782

does not require the foreign proceedings to be “pending” or “imminent,” and permits courts to

authorize discovery provided that the foreign proceedings are “within reasonable contemplation”

when the request for judicial assistance is filed. In re DiGiulian, 314 F. Supp. 3d 1, 6 (D.D.C.

2018); Intel, 542 U.S. at 258–59 (also noting by parenthetical, “[i]t is not necessary ... for the

[adjudicative] proceeding to be pending at the time the evidence is sought, and that the statute

requires only that the evidence is eventually to be used in such a proceeding”). The D.C. Circuit

has further confirmed that the second mandatory factor merely asks whether there is “sufficient

indication that a proceeding in court would eventuate in which the evidence gathered can be

weighed impartially.” In re Letter of Request from the Crown Prosecution Serv., 870 F.2d 686,

692 (D.C. Cir. 1989).

       Petitioner’s Contemplated English Proceedings qualify as “foreign proceedings” for

purposes of Section 1782. See In re Application of Shervin Pishevar for an Ord. to take Discovery

for use in Foreign Proc. Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d 290, 302 (S.D.N.Y. 2020)

(“The Court finds that [Mr. Pishevar] has established the required concrete basis for the

contemplated civil proceedings . . . [Mr. Pishevar] also has met the “for use” standard with respect

to the contemplated criminal proceedings.); see also Order to Issue Subpoenas to Respondent

Authorizing Discovery Pursuant to 28 U.S. §1782 to Conduct Discovery for Use in Foreign

Proceedings, In Re Application of Shervin Pishevar for an Order to Take Discovery for Use in


                                                17
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Foreign Proceedings Pursuant to 28 U.S.C. 1782, 2:21-mc-00175-JAK-KS (C.D. Cal May 25,

2021), ECF No. 21 (finding that Mr. Pishevar’s 1782 application satisfied the statutory

requirements of 28 U.S.C. § 1782). Here, the declarations of Petitioner’s English lawyers that they

have been retained to pursue the claims articulated in their declarations and that they have begun

preparing the necessary pleadings is objective evidence that Petitioner’s “foreign proceeding” is

“within reasonable contemplation.” In re DiGiulian, 314 F. Supp. 3d at 6 (“Section 1782 does not

require proceedings to be ‘pending’ or ‘imminent,’ and permits courts to authorize discovery

provided that the foreign proceedings are ‘within reasonable contemplation’ when the request for

judicial assistance is filed”) (internal citation omitted); In re Hornbeam Corp., 722 F. App’x 7, 9–

10 (2d Cir. 2018) (summary order) (holding that a foreign proceeding was reasonably

contemplated where the applicant “represented that it intended to initiate further litigation,” and

“articulated a theory on which it intended to litigate.”); In re Furstenberg Fin. SAS, No. 18-MC-

44 (JGK), 2018 WL 3392882, at *4 (S.D.N.Y. July 12, 2018) (holding that for use requirement

was been met where petitioners swore that they intended to file a criminal complaint in

Luxembourg Criminal Court and articulated a specific legal theory on which they intended to rely);

see also In re: Application of Bracha Found., 663 F. App’x 755, 764 (11th Cir. 2016) (affirming

district court’s decision that foreign proceeding was within reasonable contemplation because

“[applicants] have represented their intention to return to litigation in the BVI and have articulated

a theory upon which they intend to litigate.”); Bravo Express Corp. v. Total Petrochemicals & Ref.

U.S., 613 F. App’x 319, 323 (5th Cir. 2015) (finding that the application was for use in a

contemplated proceeding because, inter alia, Petitioner filed a “sworn affidavit” from his foreign

lawyer that he had prepared papers).

       The Contemplated English Proceedings qualify as a proceeding in a “foreign or

international tribunal” for purposes of Section 1782. Indeed, numerous courts have found that


                                                 18
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civil proceedings before English courts satisfy Section 1782. See e.g. In re Catalyst Managerial

Servs., DMCC, 680 F. App’x 37, 41 (2d Cir. 2017); La Suisse, Societe d'Assurances Sur La Vie v.

Kraus, 62 F. Supp. 3d 358, 362 (S.D.N.Y. 2014). With regard to the Contemplated Criminal

Proceedings in particular, Section 1782(a) explicitly provides that the statute can be used to obtain

discovery for use in “criminal investigations conducted before formal accusation”, and courts have

confirmed the availability of Section 1782 for such criminal investigations. 28 U.S.C. § 1782(a);

see e.g., In re Children’s Inv. Fund Found. (UK), 363 F. Supp. 3d 361, 370 (S.D.N.Y. 2019)

(granting 1782 application for use in contemplated criminal proceedings abroad); In re Veiga, 746

F. Supp. 2d 8, 22 (D.D.C. 2010) (granting 1782 application for use in criminal proceeding). Thus,

the Contemplated English Proceedings plainly qualify as foreign proceedings under Section 1782.

       Petitioner is not required to show that the information sought would be discoverable or

admissible in the Contemplated English Proceedings. Intel, 542 U.S. at 260 (“[N]othing in the

text of § 1782 limits a district court’s production-order authority to materials that could be

discovered in the foreign jurisdiction if the materials were located there.”); In re Svitavy, 748 F.

Supp. 2d at 527 (“To delve into the merits of litigation pending before a foreign tribunal would be

a breach of international comity. Indeed, the Supreme Court has instructed that the district courts

are to refrain from delving into the similarly technical question of discoverability under foreign

laws in considering a § 1782 request for judicial assistance.”); In re Barnwell Enters. Ltd., 265 F.

Supp. 3d 1, 11 (D.D.C. 2017) (“[S]ection 1782 does not require that the material sought in the

United States be discoverable—or even admissible—in the foreign tribunals.”). Rather, the burden

on Petitioner is “de minimis”; Petitioner need only show that the evidence is relevant to the

Contemplated English Proceedings. In re Veiga, 746 F. Supp. 2d 8, 18 (D.D.C. 2010) (granting

application where petitioners made “prima facie showing and its conclusion that the discovery

sought in fact relates to claims and defenses”).


                                                   19
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         Here, Petitioner plainly satisfies this requirement.      The information sought in the

Subpoenas relate to the identity and location of the Forgers (including the UK Source); the identiy

and location of anyone who instructed the Respondent to investigate the Petitioner in relation to

this matter; and any other information relating to the provenance and falsity of the report, including

anyone who may have commissioned or had any involvement in planning, preparing, or

disseminating the Forged Police Report and Other False Information—facts and issues that are

critical to the Contemplated English Proceedings. The Petitioner will use this information to plead

and prove his civil and criminal claims in England. 89

                 3.      Petitioner Is An “Interested Person.”

         Finally, Section 1782 requires persons seeking discovery to show that they possess a

reasonable interest in the foreign proceedings. While Section 1782 broadly covers those with the

right to participate and submit information in foreign proceedings, see Lazaridis v. Intl. Ctr. for

Missing and Exploited Children, Inc., 760 F. Supp. 2d 109, 113 (D.D.C. 2011), aff'd sub nom. In

re Application for an Or. Pursuant to 28 U.S.C. §1782, 473 Fed. Appx. 2 (D.C. Cir.

2012)(unpublished)), there is “[n]o doubt litigants are included among, and may be the most

common example of, the ‘interested person[s] who may invoke § 1782.” Intel Corp. v. Advanced

Micro Devices, Inc., 542 U.S. 241, 256 (2004); Attorney Gen. of British Virgin Islands v. Hyman,

No. 1:19-MC-164-RCL, 2020 WL 2615519, at *6 (D.D.C. May 23, 2020) (holding that 1782

applicant who “intends to initiate [foreign] proceedings” qualifies as “interested person”);

Petitioner will be a party and complainant to the Contemplated English Proceedings and is

therefore an “interested person” under Section 1782; see In re Application of Shervin Pishevar for

an Ord. to take Discovery for use in Foreign Proc. Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d

290, 303 (S.D.N.Y. 2020) (“[Mr. Pishevar] will be the plaintiff in the contemplated civil lawsuit



   89
        Afia Decl. ¶¶46-50; Macdonald Decl. ¶¶40-41.
                                                       20
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and, as such, is an “interested person . . . [Mr. Pishevar] also is an “interested person” with regard

to the contemplated criminal proceedings.”); see also Order to Issue Subpoenas, In Re Application

of Shervin Pishevar for an Order to Take Discovery for Use in Foreign Proceedings Pursuant to

28 U.S.C. 1782, 2:21-mc-00175-JAK-KS (C.D. Cal May 25, 2021), ECF No. 21 (finding that Mr.

Pishevar’s 1782 application satisfied the statutory requirements of 28 U.S.C. § 1782). 90

          B.      All Of The Discretionary Factors Of Section 1782 Weigh In Favor of
                  Permitting The Discovery Petitioner Seeks.

          Once the threshold requirements under section 1782 are met, the Court should consider the

four discretionary “Intel factors.” Each of these factors weighs in favor of granting the requested

discovery here.

          First, Respondent will not be a party to the Contemplated English Proceedings. 91 Second,

there is no reason to believe that English courts would be unreceptive to evidence obtained through

Section 1782 discovery. Third, Petitioner is acting in good faith and is not seeking to avoid any

foreign restriction on gathering evidence. Fourth, Petitioner’s three document requests and

corresponding deposition topics are carefully circumscribed and targeted to key facts so as to avoid

undue burden on Respondent.

                  1.       The First Intel Factor Favors Granting Discovery.

          The first Intel factor asks whether the party from whom discovery is sought is a party to

the foreign proceeding. “[W]hen the person from whom discovery is sought is a participant in the

foreign proceeding . . . the need for § 1782(a) aid generally is not as apparent as it ordinarily is


    90
        With regard to the Contemplated Criminal Proceedings, if a public prosecution is elected, Petitioner qualifies
as an “interested person” as a victim and aggrieved party of the crime. See e.g. Lazaridis v. Intl. Ctr. for Missing and
Exploited Children, Inc., 760 F. Supp. 2d at 113 (“interested person” includes complainant who prompts a foreign
investigation and who “possesses a reasonable interest in obtaining [judicial] assistance”); In re Children’s Inv. Fund
Found. (UK), 363 F. Supp. 3d 361, 372 (S.D.N.Y. 2019) (“[A] complainant in a criminal investigation satisfies the
“interested person” requirement of § 1782.”); In re Ex Parte Application of SERETM, 2013 WL 6141655, at *1 (N.D.
Cal. Nov. 21, 2013) (holding that a victim of fraud is an interested person under Section 1782). Indeed, Petitioner
will have the practical ability to introduce evidence concerning the identity of the Forger regardless of which type of
prosecution (private or public) is initiated. Macdonald Decl. ¶¶35-41.
     91
        Macdonald Decl., n. 14; Afia Decl., n. 8.
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when evidence is sought from a nonparticipant in the matter arising abroad.” Intel, 542 U.S. at

264. Here, the Respondent will not be a party to the Contemplated English Proceedings. 92 Further,

there is presently no other avenue for Petitioner to uncover the identity of the Forger or the

distributors of the Forged Police Report.93

                 2.       The Second Intel Factor Favors Granting Discovery.

          Under the second Intel factor, this Court should look to whether the foreign tribunal would

be receptive to evidence obtained through Section 1782. See In re Application of Caratube In’l

Oil Co., LLP, 730 F. Supp. 2d 101, 106 (D.D.C. 2010) (describing the second Intel factor as

inquiring into whether the foreign proceeding would “reject evidence obtained with the aid of

section 1782”); In re Veiga, 746 F. Supp. 2d at, 23–24 (same); In re DiGiulian, 314 F. Supp. 3d at

8 (same). There is a strong presumption that the foreign tribunal will be receptive to evidence

obtained in the United States, with a sister circuit holding that “[a]bsent specific directions to the

contrary from a foreign forum, should generally prompt district courts to provide some form of

discovery assistance.” In re Application of Euromepa, 51 F.3d 1095, 1102 (2d Cir. 1995). A court

should deny discovery on the basis of lack of receptiveness only where it is provided with

“authoritative proof that [the] foreign tribunal would reject evidence obtained with the aid of

section 1782.” In re Application of Caratube Int’l Oil Co., LLP, 730 F. Supp. 2d at 106 (quoting

In re Application of Euromepa, 51 F.3d at 1100).

          The English courts will be receptive to evidence obtained through this Application. 94

Petitioner will have the opportunity to use the information obtained in this Application in pleading




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        Macdonald Decl., n. 14; Afia Decl., n. 8.
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        Afia Decl. ¶50; Macdonald Decl. ¶¶40-41.
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        Afia Decl. ¶¶51-54; Macdonald Decl. ¶¶42-47. At minimum, there is no authoritative proof that the English
courts would reject the evidence obtained here.
                                                      22
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his claims (i,e, in the complaint/claim form, and criminal complaint and/or criminal summons) as

well as to prove its claims and enforce any remedies and/or sanctions. 95

                 3.      The Third Intel Factor Favors Granting Discovery.

         The third Intel factor looks to “whether the § 1782(a) request conceals an attempt to

circumvent foreign proof-gathering restrictions or other policies of a foreign country or the United

States.” Intel, 542 U.S. at 265. The Intel Court expressly rejected the notion that Section 1782

requires that the evidence sought must be discoverable in the foreign proceeding itself, and courts

in this district have recognized that “courts should generally refrain” from determining whether

“evidence would actually, or even probably, be admissible in the foreign proceeding” and should

“leave it to the foreign tribunal to decide what use it wants to make of the evidence obtained.” See

In re Veiga, 746 F. Supp. 2d 8, 17–18 (D.D.C. 2010); In re Barnwell Enterprises Ltd, 265 F. Supp.

3d at 12 (“[A]s the Court has already explained, section 1782 does not require that the material

sought be discoverable or even admissible in the foreign proceedings.”); see also Brandi-Dohrn v.

IKB Deutsche Industriebank AG, 673 F.3d 76, 82 (2d Cir. 2012) (“While Intel concerned the

discoverability of evidence in the foreign proceeding, we see no reason why it should not extend

to the admissibility of evidence in the foreign proceeding. As in Intel, there is no statutory basis

for any admissibility requirement.”); Intel, 542 U.S. at 261 (“A foreign nation may limit discovery

within its domain for reasons peculiar to its own legal practices, culture, or traditions—reasons

that do not necessarily signal objection to aid from United States federal courts.”). Nor is there

any requirement that Petitioner must exhaust his remedies in the foreign court first. See In re

Barnwell Enterprises Ltd, 265 F. Supp. 3d at 13 (“[T]here is no requirement in the statute that a

petitioner exhaust their discovery options in a foreign forum before seeking discovery here.”); In

re Application for an Order Permitting Metallgesellschaft AG to take Discovery, 121 F.3d 77, 79



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        Afia Decl. ¶¶47-50; Macdonald Decl. ¶¶40-41.
                                                       23
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(2d Cir. 1997) (“[A] ‘quasi-exhaustion requirement’ finds no support in the plain language of the

statute and runs counter to its express purposes.”).

         Here, there is no reason to believe that any of the discovery sought violates any foreign

laws and/or public policy. Petitioner does not seek customer account information, state secrets, or

attorney-client communications—he merely seeks information relating to the individual(s) who

forged a police report with the goal of disseminating false information to harm Petitioner’s

reputation. The English jurisdiction does not have any law or public policy against such discovery.

To the contrary, as the Declaration of Lord Macdonald of River Glaven Kt QC notes, it would be

in the public interest to prosecute the Forger(s) of such a document. 96

                 4.      The Fourth Intel Factor Favors Granting Discovery.

         The fourth Intel factor looks to whether the requests are “unduly intrusive or burdensome.”

Intel, 542 U.S. at 265. The standard is substantially the same as in ordinary domestic civil litigation

under the Federal Rules of Civil Procedure. “[T]he standards for discovery set out in the Federal

Rules of Civil Procedure also apply when discovery is sought under § 1782(a).” In re Veiga, 746

F. Supp. 2d at 19 (citing In re Bayer AG, 146 F.3d 188, 195 (3d Cir. 1998)). Relevancy in this

context is “broadly construed” and “[w]hen relevance is in doubt, the district court should be

permissive.” Id.

         Here, the three document requests and the corresponding deposition topics are narrowly

tailored, temporally limited, and directly relevant to the issues in the foreign proceedings.

Whatever burden Respondent may incur by producing the requested discovery, it is both modest

and proportionate given the circumstances. In any event, it is unclear what burden Respondent

would avoid by witholding the identity of an individual(s) that has engaged in intentional criminal

and fraudulent conduct designed to perpetuate lies about the Petitioner.



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        Macdonald Decl. ¶¶36, 47.
                                                 24
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III.    CONCLUSION

        For the foregoing reasons, Petitioner respectfully requests that the Court (a) grant the Ex

Parte Application And Petition For An Order To Conduct Discovery; (b) enter the Proposed Order

attached to the Bento Declaration as Exhibit 1, (c) authorize Petitioner, pursuant to 28 U.S.C.

§ 1782, to serve the Subpoenas; and (d) grant any and all other relief to Petitioner as is deemed

just and proper.




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Dated: Washington, D.C.            Respectfully submitted,
       August 6, 2021

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